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 7

 8                                 UNITED STATES DISTRICT COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10

11   PERLA MAGENO,                                       Case No.
12                   Plaintiff,                          NOTICE OF REMOVAL
13            v.
14 SPRINT COMMUNICATIONS
   COMPANY, L.P., a Delaware limited
15 partnership, and DOES 1-20,

16                   Defendants.
17

18

19
20            PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1441 and 1446, Sprint
21   Communications Company, L.P.1 (“Sprint”), through counsel, removes the above-
22   referenced case from the State of California’s Los Angeles County Superior Court to
23   the United States District Court for the Central District of California, Western
24   Division.
25

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         Plaintiff has erroneously sued Sprint Communications Company, L.P.

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 1                                    REMOVAL IS TIMELY
 2           1.      On October 2, 2017, an action entitled PERLA MAGENO v. SPRINT
 3   COMMUNICATIONS COMPANY, L.P., was filed in the Superior Court for the
 4   County of Los Angeles, Case No. EC067334.               A true and correct copy of the
 5   Complaint is attached as Exhibit A to this Notice of Removal.
 6           2.      Plaintiff alleges in her Complaint that she is legally blind and cannot use
 7   a computer without the assistance of screen-reading software. (Complaint, ¶ 8.)
 8   Plaintiff further alleges that she encountered multiple accessibility barriers for blind or
 9   visually impaired people while attempting to access Sprint’s website.      (Complaint, ¶¶
10   8, 32.)      Plaintiff contends that Defendant’s alleged actions, in failing to design,
11   construct, maintain and operate its website to be fully accessible to and independently
12   useable by Plaintiff and other blind or visually impaired people constitutes a violation
13   of Civil Code section 51, the Unruh Civil Rights Act. (Complaint, ¶ 2.)
14           3.      Sprint’s registered agent for service of process was served with the
15   Complaint on October 6, 2017. A true and correct copy of the documents served on
16   Sprint’s registered agent is attached to this Notice as Exhibit A.
17           4.      Under 28 U.S.C. § 1446(b), the notice of removal of a civil action shall
18   be filed within 30 days after the receipt by the defendant, through service or
19   otherwise, of a copy of the initial pleading setting forth the claim for relief upon which
20   such action or proceeding is based.         To trigger the 30-day removal period, the
21   defendant must receive the summons and complaint by proper service. See Murphy
22   Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354 (1999). Because 30
23   days from October 6, 2017 falls on a weekend, defendant has until November 6, 2017
24   to remove. Fed. R. Civ. P. 6; Cal. Civ. Proc. Code § 12; Yanik v. Countrywide Home
25   Loans, Inc., No. 13-3031 JSC, 2010 U.S. Dist. LEXIS 115717, at *9 n.6, 2010 WL
26   4256312, at *3 n.6 (C.D. Cal. Oct. 18, 2010). Thus, removal is timely.
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 1                              JURISDICTION AND VENUE
 2           5.    Venue is proper in the Central District of California pursuant to 28
 3   U.S.C. §§ 84(c)(2), 1391 and 1446, because this action was pending in Los Angeles
 4   County Superior Court.
 5
                         REMOVAL BASED ON 28 U.S.C. § 1332(a).
 6
             6.    Court has original jurisdiction over this lawsuit under 28 U.S.C. § 1332,
 7
     and this diversity action is removable to this Court under 28 U.S.C. §§ 1441 and 1446.
 8
     Suits that do not arise under federal law are removable “if none of the parties in
 9
     interest properly joined and served as defendants is a citizen of the State in which such
10
     action is brought.”     28 U.S.C. § 1441(b).     The amount in controversy exceeds
11
     $75,000. Id. § 1332(a).
12

13
             A.    Complete Diversity Of Citizenship Exists Between Plaintiff And
14
                   Sprint
15
             7.    Plaintiff Perla Mageno is a resident of Los Angeles, California.
16
     (Complaint, ¶ 8.)
17
             8.    Sprint is a Delaware partnership with its principal place of business in
18
     Overland Park, Kansas. (Complaint, ¶ 10.) A corporation is considered a citizen of
19
     both the state under whose laws it was organized and of the state where it has its
20
     principal place of business. 28 U.S.C. § 1332(c)(1). Thus, Sprint is a citizen of both
21
     Delaware and Kansas.
22
             9.    Complete diversity exists between Plaintiff and Sprint.
23
24           B.    The Amount in Controversy Exceeds $75,000
25           10.   The amount in controversy in this case exceeds $75,000, exclusive of
26   interest and costs. While Defendant disputes any liability in this case, a review of the
27   damages potentially recoverable under the Unruh Act and Plaintiff's theory of
28   liability, which involves repeating claims and alleged ongoing violations by Sprint,
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 1   demonstrates that the amount of monetary damages sought by Plaintiff in the
 2   Complaint satisfies the “good faith” requirement purposes of removal under 28 U.S.C.
 3   § 1446(c)(2).
 4           11.   In order to show that the amount in controversy requirement is satisfied,
 5   a defendant need only demonstrate by a preponderance of the evidence that a
 6   plaintiff’s claims meet the jurisdictional minimum. 28 U.S.C. § 1446(c)(2)(b). In
 7   determining whether the jurisdictional minimum is met, the Court is entitled to and
 8   should consider all recoverable damages sought by Plaintiff, including compensatory
 9   damages, emotional distress damages, punitive damages, statutory penalties, and
10   attorneys’ fees. The court may also consider the value of nonmonetary relief sought.
11   28 U.S.C. § 1446 (c)(2)(A)(i). Where a plaintiff seeks injunctive relief, the amount in
12   controversy for the purposes of removal may be calculated by examining the cost to
13   the defendant of complying with the injunction. Kanter v. Warner-Lambert Co., 265
14   F.3d 853, 859 (9th Cir. 2001); In re Ford Motor Co./Citibank, 264 F.3d 952, 958-99
15   (9th Cir. 2001).
16           12.   The removing defendant meets its burden of establishing the
17   jurisdictional minimum amount in controversy if it establishes that it is “more likely
18   than not” that the amount in controversy exceeds $75,000. Sanchez v. Monumental
19   LifeIns. Co., 102 F3d 398, 403-04 (9th Cir. 1996). A defendant can establish the
20   amount in controversy by the allegations in a complaint, or by setting forth facts in the
21   notice of removal that demonstrate that the amount in controversy exceeds $75,000.
22   Green v. Party City Corp., No. CV-01-09681, 2002 WL 553219, at *2 (C.D. Cal.
23   2002) (noting that if the complaint is silent on the amount of damages claimed, the
24   court may consider facts in the removed petition); Gaus v. Miles, Inc., 980 F.2d 564,
25   576 (9th Cir. 1992).
26           13.   Here, Plaintiff alleges a cause of action against Sprint for violation of
27   California Civil Code § 51, the Unruh Civil Rights Act. (Complaint, ¶ 2.) Plaintiff
28   seeks statutory penalties, attorneys’ fees, and “a preliminary and permanent injunction
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 1   enjoining Defendant from further violations of the UCRA, Civil Code § 51 et seq.
 2   with respect to its website “www.Sprint.com.” (Complaint, Prayer for Relief, ¶ 2.)
 3           14.   The face of the Complaint alleges an amount in controversy of at least
 4   $74,999, plus attorneys’ fees. (Complaint, ¶¶ 47-48 [alleging injunctive relief of
 5   “$50,000 or less” and statutory damages of $24,999].) Because the Unruh Civil
 6   Rights Act provides for the recovery of attorneys’ fees (Cal. Civ. Code § 52(a)), and it
 7   is entirely reasonable if not legally certain that Plaintiff has incurred over $1 in
 8   attorneys’ fees to date, the total amount in controversy exceeds the jurisdictional limit
 9   of $75,000. Moreover, as described below, Plaintiff’s request for injunctive relief will
10   cost Sprint far in excess of Plaintiff’s estimate of $50,000.
11           15.   Monetary Damages: Generally, “the sum demanded in good faith in the
12   initial pleading shall be deemed to be the amount in controversy,” subject to certain
13   exceptions, such as nonmonetary relief, discussed below. See 28 U.S.C. § 1446(c)(2).
14   Here, Plaintiff has alleged monetary damages up to $24,999 (Complaint, ¶ 48
15   [alleging statutory damages “shall not exceed $24,999”]).
16           16.   The Unruh Act allows for recovery of a statutory minimum of $4,000
17   “for each and every offense” of its provisions. Cal. Civ. Code § 52(a). “Each offense
18   is each time the plaintiff visits the non-compliant place of public accommodation or
19   each specific instance in which the plaintiff is deterred from attempting to visit.”
20   Molski v. Rapazzini Winery, 400 F. Supp. 2d 1208, 1211-1212 (N.D. Cal. 2005)
21   (emphasis added), citing Arnold v. United Artists Theatre Circuit, Inc. 866 F. Supp.
22   433 (N.D. Cal. 1994); Cal. Civ. Code § 55.56(b).
23           17.   Plaintiff alleges she has experienced violations “on several separate
24   occasions” when visiting Sprint’s website. (Complaint, ¶¶ 29-30.) She also alleges
25   that she “continues to be deterred on a regular basis” from accessing Sprint’s website
26   and its brick-and-mortar locations. (Complaint, ¶ 35.) Specifically, Plaintiff alleges:
27                 a.    “Plaintiff has visited www.Sprint.com on multiple separate
28   occasions using the JAWS screen-reader.           During Plaintiff’s separate visits to
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 1   Defendant’s website, Plaintiff encountered multiple access barriers which denied
 2   Plaintiff full and equal access to the facilities, goods, and services offered to the public
 3   and made available to the public on Defendant’s website. Due to the widespread
 4   access barriers Plaintiff encountered on Defendant’s website, Plaintiff has been
 5   deterred, on a regular basis, from accessing Defendant’s website.” (Complaint, ¶ 8
 6   [emphasis added].)
 7                 b.     “The access barriers Plaintiff encountered on Defendant’s website
 8   have deterred Plaintiff from visiting Defendant’s brick-and-mortar locations.”
 9   (Complaint, ¶ 9.)
10                 c.     “Starting in September 2017, on two separate occasions, Plaintiff
11   attempted to do business with Defendant on www.Sprint.com and Plaintiff
12   encountered barriers to access on the website.” (Complaint, ¶ 33.)
13                 d.     “Plaintiff, as a result of the barriers on the Defendant’s website,
14   continues to be deterred on a regular basis from accessing Defendant’s website.
15   Likewise, based on the numerous access barriers Plaintiff has been impeded from the
16   full and equal enjoyment of goods and services offered in connection with
17   Defendant’s brick-and-mortar locations.” (Complaint, ¶ 35 [emphasis added].)
18                 e.     “Defendant is violating the UCRA, Civil Code § 51 et. Seq., by
19   denying visually-impaired customers the goods and services provided on its website.
20   These violations are ongoing.” (Complaint, ¶ 44 [emphasis added].)
21           18.   Given Plaintiff’s allegation that she has visited Sprint’s website and
22   experienced purported access barriers on “multiple separate occasions”, that she has
23   been continuously deterred from accessing the website and brick-and-mortar on a
24   “regular” and “ongoing” basis, and that she is alleging up to $24,999 in statutory
25   damages, Plaintiff clearly is seeking to demonstrate grounds for recovery based on
26   numerous individual “offenses” at $4,000 per offense. Accordingly, the Complaint
27   alleges at least $24,999 in monetary damages.
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 1           19.   Nonmonetary Damages.          The Court may also consider the cost of
 2   nonmonetary relief alleged in Plaintiff’s Complaint. 28 U.S.C. § 1446(c)(2)(A)(i). In
 3   addition to monetary damages, Plaintiff seeks “a preliminary and permanent
 4   injunction enjoining Defendant from further violations of the UCRA, Civil Code § 51
 5   et seq. with respect to its website “www.Sprint.com.” (Complaint, Prayer for Relief, ¶
 6   2.) In the context of single-plaintiff cases, the Ninth Circuit has adopted an “either
 7   viewpoint” rule such that “the test for determining the amount in controversy is the
 8   pecuniary result to either party which the judgment would directly produce.” In re
 9   Ford Motor Co./Citibank (South Dakota), NA, 264 F.3d 952, 958 (9th Cir. 2001); see
10   Sanchez, 102 F.3d at 405 n. 6 (observing how the 9th Circuit “rejected the ‘plaintiff-
11   viewpoint’ rule, which states that courts attempting to determine the value of a claim
12   for purposes of the amount in controversy requirement should look only to the benefit
13   to the plaintiff, rather than to the potential loss to the defendant.”), citing Ridder Bros,
14   Inc. v. Blethen, et al., 142 F.2d 395, 398 (9th Cir. 1944) (noting “if the value of the
15   thing to be accomplished [is] equal to the dollar minimum of the jurisdictional amount
16   requirement to anyone concerned in the action, then jurisdiction [is] satisfied.”).
17   Accordingly, to the extent the cost of remedying the alleged issues with Sprint’s
18   website, combined with Plaintiff’s alleged monetary damages, exceeds $75,000, the
19   amount in controversy requirement is met.
20           20.   Plaintiff attempts to limit the cost of her injunctive relief to $50,000 in an
21   effort to evade Federal jurisdiction. (Complaint, ¶ 47.) However, implementing the
22   changes sought in Plaintiff’s complaint would significantly exceed this amount. The
23   cost of compliance with Plaintiff’s request alone would meet the minimum amount in
24   controversy for removal. Plaintiff alleges “multiple accessibility barriers for blind or
25   visually impaired people”, including inability to access the “store locator”, inability to
26   purchase items because she could not identify items for purchase, as well as
27   “unlabeled links and graphics” and “lack[] of headings causing [the website] to be
28   exceeding unwieldy and difficult to navigate.”         (Complaint, ¶ 32.)      Due to the
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 1   complexity and labor intensive nature of assessing a website (which includes
 2   examining the website at the code level), the cost of performing an initial accessibility
 3   audit based on Plaintiff’s complaints is upwards of $100,000. (Declaration of Justin
 4   Kramp, ¶ 7.) Sprint would incur subsequent costs to implement changes to the
 5   Website. (Id.) To the extent Sprint would be required to develop a new “Store
 6   Locator” feature on the Website to implement or revise accessibility features in
 7   response to Plaintiff’s claims, Sprint would likely incur costs in the range of $250,000
 8   to $500,000. (Id. at ¶ 8.)
 9           21.   Attorneys’ Fees. Plaintiff also seeks attorneys’ fees “without limitation”
10   in her Complaint. (Complaint, Prayer for Relief, ¶ 4.) Attorneys’ fees are recoverable
11   as a matter of right for prevailing parties under the Unruh Act. Accordingly, the Court
12   may consider such fees when determining the amount in controversy. Cal. Civ. Code
13   § 52(a); see Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998)
14   (“[W]here an underlying statute authorizes an award of attorneys’ fees, either with
15   mandatory or discretionary language, such fees may be included in the amount in
16   controversy.”). Significantly, courts in the Central District have held that estimated
17   fees during the litigation may be considered as part of the amount in controversy. See,
18   e.g., Oganesyan v. AT&T Mobility Servs., LLC, 2014 U.S. Dist. LEXIS 132126 *7
19   (C.D. Cal. Sept. 18, 2014) (holding that where an underlying statute permits recovery
20   of attorneys’ fees, “the Court does not merely consider those fees which have already
21   incurred; rather, it looks to the amount that can be reasonably estimated” when
22   determining the amount in controversy).
23           22.   To date, Plaintiff has incurred fees preparing, filing, and serving the
24   Complaint. Applying even the most conservative estimate of attorneys’ fees, Plaintiff
25   has undoubtedly incurred in excess of $1 in fees at the time of removal. Because the
26   face of the Complaint alleges at least $74,999 in damages, plus fees, the combined
27   alleged damages and expected attorneys’ fees in this case exceed $75,000.
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 1           23.   Although Plaintiff has already incurred sufficient fees to satisfy the
 2   jurisdictional minimum, an attorneys’ fee award alone in this case could easily meet or
 3   surpass $75,000 through trial. Indeed, assuming an hourly rate of $300, Plaintiff’s
 4   counsel need only recover fees for 250 hours of work to satisfy the jurisdictional
 5   minimum. Based on other accessibility litigation, it is reasonably plausible that the
 6   expected attorneys’ fees in this case will exceed $75,000 through trial (though Sprint
 7   disputes all claims for damages and attorneys’ fees). See Chapman v. Pier 1 Imps.
 8   (U.S.), Inc., 2017 U.S. Dist. LEXIS 37257, *12 (E.D. Cal. March 15, 2017)
 9   (attorneys’ fees awarded to Plaintiff in the sum of $312,253).
10                                 REMOVAL IS PROPER
11           24.   As demonstrated above, this Court has original jurisdiction over this
12   action pursuant to 28 U.S.C. § 1332.
13           25.   Pursuant to 28 U.S.C. § 1446(b)(2)(A), “all defendants have been
14   properly joined and served must join in or sent to the removal of the action.” No other
15   defendant must join in or consent to this removal as Sprint is the only properly served
16   defendant.
17           26.   As required by 28 U.S.C. § 1446(a), attached are copies of all process,
18   pleadings, and orders in this action that are in the possession of Sprint. A true and
19   correct of Perla Mageno’s Summons, Complaint, Civil Cover Sheet and addendum,
20   Notice of Case Assignment, and General Order are attached hereto as Exhibit A. The
21   Proof of Service filed by Plaintiff is attached hereto as Exhibit B. This constitutes all
22   process, pleadings and orders received to date in this matter by Sprint. 28 U.S.C. §
23   1446(a).
24           27.   As required by Federal Rule of Civil Procedure 7.1 and Local Rule 7.1-1,
25   Sprint concurrently filed its Certificate of Interested Parties and Corporate Disclosure
26   Statement.
27   ///

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 1           28.   Pursuant to 28 U.S.C. § 1446(d), Sprint is filing a copy of this Notice of
 2   Removal with the clerk of the Superior Court of California, County of Los Angeles
 3   and providing written notice of the removal of this action to Plaintiff.
 4

 5   November 6, 2017                               Respectfully submitted,
 6                                                  SHOOK, HARDY & BACON L.L.P.
 7

 8                                                  By: /s/ Sean B. Cooney
                                                        Mark Tatum
 9                                                      Sean B. Cooney
                                                        Attorneys for Defendant
10                                                      SPRINT COMMUNICATIONS
                                                        COMPANY, L.P.
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